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                       IN THE UNITED STATES DISTRICT COURT

                     FOR THE SOUTHERN DISTRICT OF GEORGIA

                                   AUGUSTA DIVISION

UNITED STATES OF AMERICA             )
                                     )
     v.                              )       CR 123-070
                                     )
APRIL EVALYN SHORT                   )
        _________________________________________________________

           MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION
           _________________________________________________________

       On November 17, 2023, at the request of both parties, the Court ordered a mental

examination of Defendant pursuant to 18 U.S.C. § 4247, as authorized by 18 U.S.C. §§ 4241

and 4242. See United States v. Short, MJ 123-063, doc. no. 10 (S.D. Ga. Nov. 17, 2023)

(hereinafter “MJ 123-063”). Macy Wilson, Psy.D., performed the examination and authored

an extensive competency report dated February 15, 2024. (Doc. no. 11, under seal.) On April

30, 2024, the Court conducted an evidentiary hearing and heard testimony from Dr. Wilson.

(See doc. nos. 13, 14.) Having carefully considered Dr. Wilson’s report and testimony, the

Court REPORTS and RECOMMENDS a finding Defendant is competent to stand trial.

I.     BACKGROUND

       The Complaint, filed November 16, 2023, charged Defendant with murder pursuant to

18 U.S.C. § 1111(a). See MJ 123-063, doc. no. 1. The same day, the Court saw Defendant

for an Initial Appearance and the parties jointly requested a psychiatric examination. Id., doc.

no. 7. Following the Court’s order for mental evaluation dated November 17, 2023, (id., doc.

no. 10), Defendant was admitted to Federal Medical Center, Carswell, (“FMC Carswell”) in
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Fort Worth, Texas, on December 11, 2023, (doc. no. 11). The Indictment, filed December 5,

2023, charges Defendant with one count of premeditated murder and one count of felony

murder pursuant to 18 U.S.C. § 1111. (Doc. no. 1.)

       Dr. Wilson conducted two months of observation and evaluation and found Defendant

competent to stand trial. (See doc. no. 11.) At the hearing, the Court qualified Dr. Wilson to

testify as an expert psychologist concerning Defendant’s competence in light of her

considerable education, training, and experience. Consistent with her evaluation and report,

Dr. Wilson testified Defendant is competent to stand trial.

II.    DISCUSSION

       18 U.S.C. § 4241 provides, in pertinent part, as follows:

        (d) Determination and disposition.--If, after the hearing, the court finds by a
       preponderance of the evidence that the defendant is presently suffering from a
       mental disease or defect rendering [her] mentally incompetent to the extent that
       [she] is unable to understand the nature and consequences of the proceedings
       against [her] or to assist properly in [her] defense, the court shall commit the
       defendant to the custody of the Attorney General.

18 U.S.C. § 4241(d). “The legal test for competency is whether the defendant ha[s] sufficient

present ability to consult with [her] lawyer with a reasonable degree of rational understanding

and whether [she] ha[s] a rational as well as factual understanding of the proceedings against

[her].” United States v. Nickels, 324 F.3d 1250, 1252 (11th Cir. 2003) (quoting United States

v. Cruz, 805 F.2d 1464, 1479 (11th Cir. 1986) (citations omitted)).

       While Defendant exhibited worrisome symptoms of psychosis upon her arrival at FMC

Carswell, she stabilized once she began regularly taking psychiatric medications.         (See

generally doc. no. 11.) Dr. Wilson described the dramatic improvement caused by the

medications in her report. (Id.) After stabilization, Dr. Wilson conducted an assessment to



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determine Defendant’s competency to stand trial, the results of which Dr. Wilson summarized

in her report as follows:

       Following her stabilization, we again attempted completion. Ms. Short was able
       to attend and responded to all questions asked of her. She displayed factual
       knowledge of courtroom procedures and an understanding of what was required
       for her to work effectively with her attorney.

       When asked about the responsibilities of defense counsel and of the prosecuting
       attorney, Ms. Short stated the defense is “supposed to help [me] have the best
       outcome,” while the “district attorney is on the opposite side . . . say I should
       stay in jail.” She correctly identified the crime she is charged with and
       articulated an adequate understanding of the potential consequences she may
       face if convicted.

       Ms. Short articulated an understanding of the ‘not guilty by reason of insanity’
       defense and what would be associated with such a finding. She accurately
       reported the roles of both the Judge and jury, adding both are, “supposed to be
       neutral.” She expressed trust in her attorney, though she said they have not spent
       much time together. Ms. Short verbalized an understanding of her rights, knows
       her attorney can speak on her behalf, and can guide her when she has questions
       about Court proceedings. There was no evidence of cognitive impairment
       during this interview.

(Id.) Dr. Wilson further opined in the report that in her professional opinion, Defendant is

currently competent to stand trial. (Id.)

       During the hearing, Dr. Wilson testified that Defendant is competent as well as

expressed concern about a potential for relapse. Importantly, defense counsel has met with

Defendant at length since her return from the evaluation, and he agrees with Dr. Wilson that

Defendant is presently competent. Defense counsel also expressed concerns about a potential

relapse and stated his intention to notify the Court if competency concerns resurface. No party

offered any evidence to suggest Defendant is presently incompetent.




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III.   CONCLUSION

       For the foregoing reasons, the Court REPORTS and RECOMMENDS a finding

Defendant is competent to stand trial and is not presently suffering from a mental disease or

defect rendering her mentally incompetent to understand the nature and consequences of the

proceedings against her or to assist properly in her defense.

       SO REPORTED and RECOMMENDED this 2nd day of May, 2024, at Augusta,

Georgia.




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